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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-20290-CR-BLOOM(s)

 UNITED STATES OF AMERICA

 vs.

 ERIC DEAN SHEPPARD,

             Defendant.
 __________________________________/


                            UNITED STATES’ NOTICE OF INTENT
                              TO USE RULE 404(B) EVIDENCE

         The United States of America, through the undersigned Assistant United States Attorney,

 files this Notice, pursuant to Federal Rule of Evidence 404(b)(3), of its intent to use certain

 evidence at trial.

         The defendant is charged with nine counts of wire fraud, 18 U.S.C. § 1343, and five counts

 of aggravated identity theft, 18 U.S.C. § 1028A(a)(1), relating to the submission of false and

 fraudulent loan applications under the Paycheck Protection Program and the Economic Injury

 Disaster Loan program, two loan programs backed and funded through the U.S. Small Business

 Administration. The defendant’s loan applications not only contained materially false information,

 but many of the supporting documents were falsified, and some were forged with the name, title

 and signature of others.

         During an interview of a potential witness in this case, J.G., last Friday, September 8, 2023,

 the United States learned of evidence it will seek to introduce at trial pursuant to Federal Rule of

 Evidence Rule 404(b), for the purpose of proving intent, preparation, plan, knowledge, absence of

 mistake, or lack of accident. J.G. worked for the defendant for the past 20 years, through the end



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 of March 2020. J.G. had significant responsibilities for the defendant’s businesses, having been

 the chief financial officer for a few years, and later as a full-time consultant/independent contractor

 for the defendant’s real estate business.

        In 2019, J.G. learned that in 2018, the defendant had forged J.G.’s signature and had

 misrepresented J.G. as the applicant/sponsor for a non-immigrant visa application on behalf of an

 individual who would purportedly fill a full-time “graphic designer” position at the defendant’s

 business, HM Management and Development, LLC. The misrepresentations and the forged

 signature of J.G. were made on a company letter addressed to the United States Embassy in

 Mexico, purportedly submitted by J.G., as the Chief Financial Officer (which he no longer was),

 and on a form prepared for filing with the U.S. Department of Homeland Security in which the

 defendant’s immigration counsel (not counsel in this case) entered a notice of appearance on behalf

 of the applicant/ sponsor, J.G. Upon learning of the defendant’s unauthorized misuse of his name

 and signature, J.G. confronted the defendant about it. The defendant responded by saying, in

 effect, that he would have to clean up the problem that J.G. created, and the defendant then wrote

 a letter to the immigration counsel to whom the defendant had provided the forged documents. In

 the letter, the defendant attempted to explain the “misunderstanding” surrounding the use of J.G.’s

 signature.

        The government intends to introduce the evidence outlined in this Notice for the uses

 authorized by Fed. R. Evid. 404(b), specifically for the purpose of proving intent, opportunity,

 preparation, plan, knowledge, absence of mistake, and lack of accident. The Eleventh Circuit has

 long held that the admissibility of Aother crimes@ evidence pursuant to Rule 404(b) must be

 determined by applying a three-part test: (1) it must be relevant to an issue other than the

 defendant=s character; (2) the act must be established by sufficient proof for the jury to find that



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 the defendant committed the extrinsic act by a preponderance of the evidence; and (3) the probative

 value must not be substantially outweighed by its undue prejudice. United States v. Chavez, 204

 F.3d 1305, 1317 (11th Cir. 2000); United States v. Zapata, 139 F.3d 1355 (11th Cir. 1998).

        AA defendant who enters a not guilty plea makes intent a material issue which imposes a

 substantial burden on the government to prove intent, which it may prove by qualifying Rule

 404(b) evidence absent affirmative steps by the defendant to remove intent as an issue.@ Zapata,

 139 F.3d at 1358. A>Where the extrinsic offense is offered to prove intent, its relevance is

 determined by comparing the defendant=s state of mind in perpetrating both the extrinsic and

 charged offenses.=@ United States v. Edouard, 485 F.3d 1324, 1345 (11th Cir. 2007) (quoting United

 States v. Dorsey, 819 F.2d 1055, 1059 (11th Cir. 1987)); see also, United States v. Ellisor, 522 F.3d

 1255 (11th Cir. 2008).

        The events that J.G. would describe involve making material misrepresentations to federal

 agencies – the U.S. Department of State and the Department of Homeland Security – and making

 it appear as if a different representative of the business, i.e. J.G., was the one putting forth the

 information. The defendant used J.G.’s identity without his knowledge or consent on documents

 containing false representations. The defendant’s conduct in this case indicates he had the same

 state of mind in presenting false information to lenders and the SBA, including on tax returns and

 other documents that were falsified and forged. The defendant again used other individuals’ titles

 and identities without their knowledge or consent on the falsified and forged documents.

        In United States v. Barrington, the Eleventh Circuit upheld the admissibility of Rule 404(b)

 evidence where the defendant was charged with conspiracy to commit wire fraud and aggravated

 identity theft in a scheme to change students’ grades on the university’s grading system. 648 F.3d

 1178 (11th Cir. 2011). The Court found that the testimony of a cooperating co-defendant that the



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 defendant had previously changed grades using forged instructor signatures on grading documents

 was highly probative of the defendant’s intent. Id. at 1187. In Barrington, the Court found that

 the state of mind required for the charged offense and the extrinsic act was identical, and thus, the

 first prong of the Rule 404(b) test was satisfied; the uncorroborated testimony of the co-defendant

 was sufficient evidence for the jury to find that the defendant committed the extrinsic act; and the

 probative value of the extrinsic evidence was not outweighed by unfair prejudice. Id.; see also,

 United States v. Garcia, 880 F.2d 1277 (11th Cir. 1989) (Court upheld Rule 404(b) evidence of the

 defendant previously signing another individual’s name to a document where the defendant was

 charged with making false statements on a loan application).

         In this case, the state of mind required for the charged offenses is the same as the state of

 mind of the defendant in committing the extrinsic act, and thus, the 404(b) conduct is highly

 probative of his intent. The expected evidence would be proved by the testimony of J.G., copies

 of the falsified and forged documents that J.G. received, and a copy of the defendant’s letter to his

 former immigration counsel making implied admissions about his conduct. The records are

 expected to corroborate the witness, and the evidence in its totality will satisfy the government’s

 burden to establish the extrinsic acts by a preponderance of the evidence. Finally, any risk of

 unfair prejudice possibly caused by admitting evidence of other fraudulent activity described here

 “will be mitigated by the district court’s limiting instruction to the jury.” Eduard, 485 F.3d at 1346

 (in drug trafficking case, court upheld admissibility of Rule 404(b) evidence of defendant’s prior

 drug smuggling activities and found that any unfair prejudice was reduced by the court’s limiting

 instruction to the jury).

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                                          Respectfully submitted,

                                          MARKENZY LAPOINTE
                                          UNITED STATES ATTORNEY

                                   By:   s/Aimee C. Jimenez
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 14, 2023, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF.

                                                 s/Aimee Jimenez
                                                 Aimee C. Jimenez
                                                 Assistant United States Attorney




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